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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                                 4:16CR3033

      vs.
                                                                   ORDER
MICHAEL H. MELCHIOR, and PEGGY
A. BRENNAN,

                     Defendants.


       The government has moved to continue the trial currently set for April 3, 2017.
(Filing No. 117). As explained in the motion, the parties are currently engaged in plea
discussions. The negotiations include forfeiture of real property, and the parties anticipate
an additional 30-45 days are required to obtain a title search and appraisal of the real
estate involved. Based on the showing set forth in the motion, the court finds the motion
should be granted. Accordingly,

       IT IS ORDERED:

       1)     The government’s motion to continue, (Filing No. 117), is granted.

       2)     As to both defendants, the trial of this case is set to commence before the
              Honorable Richard G. Kopf, Senior United States District Judge, in
              Courtroom 1, United States Courthouse, Lincoln, Nebraska, at 9:00 a.m.
              on May 15, 2017, or as soon thereafter as the case may be called, for a
              duration of three (3) trial days. Jury selection will be held at
              commencement of trial.

       3)     Based upon the showing set forth in Defendant’s motion and the
              representations of counsel, the Court further finds that the ends of justice
              will be served by continuing the trial; and that the purposes served by
              continuing the trial date in this case outweigh the interest of Defendant and
              the public in a speedy trial. Accordingly, as to both defendants, the
              additional time arising as a result of the granting of the motion, the time
              between today’s date and May 15, 2017, shall be deemed excludable time
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           in any computation of time under the requirements of the Speedy Trial Act,
           because although counsel have been duly diligent, additional time is needed to
           adequately prepare this case for trial and failing to grant additional time might
           result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7). Failing
           to object to this order as provided under the court’s local rules will be
           deemed a waiver of any right to later claim the time should not have been
           excluded under the Speedy Trial Act.


           March 20, 2017.

                                                 BY THE COURT:

                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge




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